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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                      MARTINSBURG


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.                                              CRIMINAL ACTION NO. 3:13-CR-23-06
                                                  (JUDGE GROH)

  ADAM NICOLAS BRADY,

         Defendant.


                           ORDER DENYING MOTION TO DISMISS

         On August 29, 2013, Defendant’s counsel filed a Motion to Dismiss for Pre-Indictment

  Delay. Defendant alleges that he has been charged with four offenses, three of which relate

  to transactions dated January 18 and January 20, 2011. Defendant’s sole basis for this

  motion is the thirty months between the alleged occurrence of the events and the return of

  the indictment.

         In determining whether pre-indictment delay violates the Fifth Amendment’s Due

  Process Clause:

         [T]he burden [is] on the defendant to prove actual prejudice. Assuming the
         defendant can establish actual prejudice, then the court must balance the
         defendant’s prejudice against the government’s justification for delay. “The
         basic inquiry then becomes whether the government’s action in prosecuting
         after substantial delay violates ‘fundamental conceptions of justice’ or ‘the
         community’s sense of fair play and decency.’”

  Jones v. Angelone, 94 F.3d 900, 904 (4th Cir. 1996) (citations omitted).

         First, Defendant does not assert that the Government deliberately caused the delay


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  for tactical gain. See United States v. Lovasco, 431 U.S. 783, 795, 97 S. Ct. 2044, 2051,

  52 L.Ed.2d 752 (1977) (“[I]nvestigative delay is fundamentally unlike delay undertaken by

  the Government solely to gain tactical advantage over the accused.”); United States v.

  Marion, 404 U.S. 307, 324, 92 S. Ct. 455, 465, 30 L.Ed.2d 468 (1971) (“[T]he [Due Process

  Clause] would require dismissal of the indictment if it were shown at trial that the pre-

  indictment delay in this case caused substantial prejudice to appellees’ right to a fair trial

  and that the delay was an intentional device to gain tactical advantage over the accused.”).

         Second, Defendant has failed to show any actual prejudice, and he admits he is “not

  yet able to establish actual prejudice.” Instead, Defendant asserts “the length of delay

  creates a presumption of actual prejudice.” However, “[t]he Due Process Clause has never

  been interpreted so as to impose a presumption of prejudice in the event of lengthy pre-

  indictment delay . . . .” Jones, 94 F.3d at 906. Because Defendant is unable to demonstrate

  actual prejudice, the second step of the analysis, balancing the prejudice against the

  government’s justification, is unnecessary.

         Accordingly, Defendant’s Motion to Dismiss Indictment [Doc. 95] is DENIED because

  he is unable to demonstrate actual prejudice due to the alleged pre-indictment delay.

         It is so ORDERED.

         The Clerk is directed to transmit copies of this Order to all counsel of record.

         DATED: September 17, 2013




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